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               United States Court of Appeals
                               For the First Circuit
                                   _____________________
No. 23-1802

    UNITED STATES; STATE OF ARIZONA; STATE OF CALIFORNIA; DISTRICT OF
    COLUMBIA; STATE OF FLORIDA; COMMONWEALTH OF MASSACHUSETTS;
     COMMONWEALTH OF PENNSYLVANIA; COMMONWEALTH OF VIRGINIA,

                                     Plaintiffs, Appellees,

                                               v.

                           AMERICAN AIRLINES GROUP INC.,

                                     Defendant, Appellant,

                           JETBLUE AIRWAYS CORPORATION,

                                         Defendant.
                                    __________________

                                        JUDGMENT
                                  Entered: November 8, 2024

        This cause came on to be heard on appeal from the United States District Court for the
District of Massachusetts and was argued by counsel.

      Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
judgment of the district court is affirmed.


                                                    By the Court:

                                                    Anastasia Dubrovsky, Clerk

cc: Daniel H. Leff, Patricia C. Corcoran, Jamie L. Miller, Robert B. McNary, John Staige Davis,
Donald Campbell Lockhart, Matthew A. Waring, Nickolai Levin, Daniel Edward Haar, Alice A.
Wang, Robert A. Bernheim, Adam Gitlin, Colin G. Fraser, William T. Matlack, Jennifer Ann
Thomson, Tyler Henry, Marguerite M. Sullivan, Gregory G. Garre, David C. Tolley, Alfred C.
Pfeiffer Jr., Allyson M. Maltas, Samir Deger-Sen, Peter E. Davis, Christine Casey Smith, Farrell
J. Malone, Michael G. Egge, Christopher S. Yates, Daniel M. Wall, Glenn A. MacKinlay, James
P. Denvir III, Benjamin P. Solomon-Schwartz, Samuel Newland Rudman, Mark A. Ford, Peter J.
Carney, Dana Foster, Bryan D. Gant, Cansu Gunel, Andrew Hamm, Mark Christopher Fleming,
Natalie M. Morrissey, Leon Bradford Greenfield, Robert K. Shelquist
